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      In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                        No. 16-1222
                                      November 28, 2016
                                      Not for Publication

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MARINA ANGDAHL-WANGLER,                       *
                                              *
      Petitioner,                             *
                                              *
   v.                                         * Influenza (“flu”) vaccine;
                                              * Guillain-Barré syndrome;
SECRETARY OF HEALTH                           * nine and one-half week
AND HUMAN SERVICES,                           * onset; motion for a decision
                                              * dismissing petition granted
      Respondent.                             *
***************************************
Amber D. Wilson, Washington, DC, for petitioner.
Colleen C. Hartley, Washington, DC, for respondent.


MILLMAN, Special Master

                                              DECISION 1

       On September 29, 2016, petitioner filed a petition under the National Childhood Vaccine
Injury Act, 42 U.S.C. §§ 300aa-10–34 (2006), alleging that the influenza (“flu”) vaccine she
received on October 28, 2013 caused her Guillain-Barré syndrome (“GBS”) nine and one-half
weeks later, but only one week after a diarrheal illness. Pet. at ¶¶ 2, 4.



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  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
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        On November 3, 2016, the undersigned held a telephonic status conference with counsel
and stated that the medical records show that her treating doctor, Dr. Solange M. Wyatt, wrote
that petitioner’s GBS was triggered by her episode of diarrhea with positive cytomegalovirus
serum titers. Med. recs. Ex. 5.1, at 9. The undersigned reminded petitioner’s counsel that the
Federal Circuit has held that special masters must consider seriously the opinions of treating
doctors. See Andreu v. Sec’y of HHS, 569 F.3d 1367 (Fed. Cir. 2009); Capizzano v. Sec’y of
HHS, 440 F.3d 1317 (Fed. Cir. 2006). Moreover, the undersigned has not gone beyond eight
weeks between vaccination and onset of GBS in holding a vaccine caused GBS. See Corder v.
Sec’y of HHS, No. 08-228V, 2011 WL 2469734, at *8-10 (Fed. Cl. Spec. Mstr. May 31, 2011).

        On November 28, 2016, petitioner filed a Motion for a Decision Dismissing Petition,
stating “An investigation of the facts and science supporting her case has demonstrated to
Petitioner that she will be unable to prove that she is entitled to compensation in the Vaccine
Program.” Mot. at ¶ 1. In addition, petitioner states “to proceed further would be unreasonable
and would waste the resources of the Court, the Respondent, and the Vaccine Program.” Id. at ¶
2.

     The undersigned GRANTS petitioner’s Motion for a Decision Dismissing Petition and
DISMISSES this case.

                                         DISCUSSION

       To satisfy her burden of proving causation in fact, petitioner must prove by preponderant
evidence: “(1) a medical theory causally connecting the vaccination and the injury; (2) a logical
sequence of cause and effect showing that the vaccination was the reason for the injury; and (3) a
showing of a proximate temporal relationship between vaccination and injury.” Althen v. Sec’y
of HHS, 418 F.3d 1274, 1278 (Fed. Cir. 2005). In Althen, the Federal Circuit quoted its opinion
in Grant v. Secretary of Health and Human Services, 956 F.2d 1144, 1148 (Fed. Cir. 1992):

               A persuasive medical theory is demonstrated by “proof of a logical
               sequence of cause and effect showing that the vaccination was the
               reason for the injury[,]” the logical sequence being supported by
               “reputable medical or scientific explanation[,]” i.e., “evidence in
               the form of scientific studies or expert medical testimony[.]”

Althen, 418 F.3d at 1278.

       Without more, “evidence showing an absence of other causes does not meet petitioners’
affirmative duty to show actual or legal causation.” Grant, 956 F.2d at 1149. Mere temporal
association is not sufficient to prove causation in fact. Id. at 1148.

       Petitioner must show not only that but for flu vaccination, she would not have had GBS
nine and one-half weeks later, but only one week after diarrhea, but also that the vaccine was a
                                                2
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substantial factor in causing her GBS. Shyface v. Sec’y of HHS, 165 F.3d 1344, 1352 (Fed. Cir.
1999).

        The Vaccine Act does not permit the undersigned to rule for petitioner based on her
claims alone, “unsubstantiated by medical records or by medical opinion.” 42 U.S.C. § 300aa-
13(a)(1) (2006). The medical records do not support petitioner’s allegations and her treater Dr.
Wyatt wrote that petitioner’s diarrhea triggered her GBS. Petitioner has not filed an expert
report in support of her allegations.

                                        CONCLUSION

     The undersigned GRANTS petitioner’s Motion for a Decision Dismissing Petition and
DISMISSES this case. 2



IT IS SO ORDERED.


November 28, 2016                                                   s/Laura D. Millman
DATE                                                                Laura D. Millman
                                                                      Special Master




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   Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either
separately or jointly, filing a notice renouncing the right to seek review.
                                                   3
